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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

 BUSINESS CASUAL HOLDINGS, LLC,
 a Delaware limited liability company,

       Plaintiff,                                        Case No.: 1:21-cv-2007-JGK

                        v.                               JURY TRIAL DEMANDED

 TV-NOVOSTI, a Russian autonomous
 non-profit organization,

       Defendant.


                               FIRST AMENDED COMPLAINT

       Plaintiff Business Casual Holdings, LLC, by and through its attorneys, Duff Law PLLC,

states as follows:

                                  NATURE OF THE DISPUTE

       1.       Plaintiff Business Casual Holdings, LLC (“Plaintiff” or “Business Casual”) seeks

monetary and injunctive relief from Defendant TV-Novosti, a Russian autonomous non-profit

organization operating the YouTube channel RT Arabic (“Defendant” or “Novosti”) for copy-

right infringement and violations of the Digital Millennium Copyright Act (“DMCA”).

       2.       Defendant published four (4) videos on YouTube that infringed upon original and

copyrighted content rightfully and solely owned by Plaintiff.

       3.       Plaintiff submitted DMCA takedown requests to YouTube with respect to all four

infringing videos published by Defendant.

       4.       Defendant initially filed a counter notification with YouTube, under the DMCA,

as to one of the infringing videos it posted, which forced Plaintiff to file its initial Complaint

within the brief window of time mandated by the safe harbor provision of the DMCA.



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       5.       Defendant subsequently filed an additional counter notification with YouTube on

March 12, 2021, under the DMCA, forcing Plaintiff to file this First Amended Complaint.

       6.       On March 15, 2021, within seven calendar days after Plaintiff filed its initial

Complaint, Plaintiff filed a fourth DMCA takedown notification with YouTube concerning addi-

tional infringing content posted by Defendant.

                                          THE PARTIES

       7.       Plaintiff is a limited liability company duly organized under the laws of Delaware.

       8.       Plaintiff creates original documentary content that it posts on the YouTube chan-

nel that it operates located at the following domain: www.youtube.com/BusinessCasual (“Plain-

tiff’s YouTube Channel”).

       9.       Defendant is a Russian autonomous non-profit organization with a registered of-

fice at Borovaya St., 3 Building 1, Moscow 111020.

       10.      Upon information and belief, Defendant operates the YouTube channel RT Ara-

bic located at the following domain: www.youtube.com/user/RTarabic (“Defendant’s YouTube

Channel”) along with thirty-eight (38) associated YouTube channels. A true and correct copy of

a list of these YouTube channels is attached as Exhibit A.

                                 JURISDICTION AND VENUE

       11.      This is a civil action arising from Defendant’s willful, intentional, and unauthor-

ized copying of copyrighted works rightfully and solely owned by Plaintiff as well as Defend-

ant’s intentional and material misrepresentations concerning the existence of infringing material

on Defendant’s YouTube Channel.

       12.      Plaintiff’s causes of action arise under the Copyright Act, 17 U.S.C. § 101 et seq.

       13.      Plaintiff’s videos are viewed by consumers within this judicial district.



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        14.     Defendant markets, advertises, and generates revenue from its infringing videos

online and within this judicial district.

        15.     This Court has original subject matter jurisdiction over Plaintiff’s claims pursuant

to 28 U.S.C. § 1331, 28 U.S.C. §§ 1338 and 1338(a).

        16.     This Court has personal jurisdiction over Defendant because, Defendant filed at

least three DMCA counter notifications in response to the DMCA takedown notices Plaintiff sent

to YouTube concerning Defendant’s infringing videos (described below), thereby consenting to

any judicial district in which YouTube is present.

        17.     Upon information and belief, YouTube has multiple locations in Manhattan.

        18.     This Court has personal jurisdiction over Defendant because it purposefully di-

rects its business activities toward consumers in the State of New York, including within this ju-

dicial district, derives a commercial benefit from its contacts within the State of New York, and

has caused material and irreparable injury to Plaintiff and consumers within the State of New

York and this judicial district.

        19.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 and 28 U.S.C. § 1400

because Defendant has promoted its infringing videos through an interactive website that derives

revenue from viewers in this judicial district.

                                     STATEMENT OF FACTS

        20.     On June 8, 2018, Business Casual published an original documentary video titled

How Rockefeller Built His Trillion Dollar Oil Empire at

www.youtube.com/watch?v=9saLsvWcppw (the “Rockefeller Video”).




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       21.     On June 25, 2020, Business Casual published an original documentary video ti-

tled J.P. Morgan Documentary: How One Man Financed America at

www.youtube.com/watch?v=5jjdErDkDZE (the “J.P. Morgan Video”).

       22.     On March 8, 2021, Business Casual received federal Copyright Registration No.

PA0002280262 for the Rockefeller Video (the “Rockefeller Registration”), a copy of which is

attached as Exhibit B.

       23.     On March 8, 2021, Business Casual received federal Copyright Registration No.

PA0002280264 for the J.P. Morgan Video (the “J.P. Morgan Registration”), a copy of which is

attached as Exhibit C.

       24.     The Rockefeller Registration and J.P. Morgan Registration may be referred to

herein as the “Business Casual Registrations.”

       25.     On January 2, 2021, Business Casual submitted a Digital Millennium Copyright

Act (“DMCA”) takedown request to YouTube concerning a video posted by Defendant on

YouTube at www.youtube.com/watch?v=NsVlUcRZa2Y that copied Plaintiff’s J.P. Morgan

Video (“Defendant’s First Infringing Video”).

       26.     On January 11, 2021, YouTube removed Defendant’s First Infringing Video.

       27.     On January 19, 2021, after email correspondence with Plaintiff initiated by De-

fendant, Defendant’s representative stated in an email that “[y]es, you are right. I am terribly

sorry about the use of your material in our project. Due to an oversight and misunderstanding

here, my colleagues used this fragment without your permission.”

       28.     On January 19, 2021, Defendant emailed Plaintiff stating “[f]ollowing up on my

previous email I’d like to add that my colleagues filed a [DMCA counter notification] by mistake

yesterday. So please ignore it.”



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       29.     On January 20, 2021, Business Causal received confirmation from YouTube that

Defendant had retracted the DMCA counter notification it filed with YouTube concerning De-

fendant’s First Infringing Video.

       30.     On February 9, 2021, Business Casual submitted a DMCA takedown request to

YouTube concerning a second video posted by Defendant on Defendant’s YouTube Channel at

www.youtube.com/watch?v=ju5ScQ-yibw that copied portions of Plaintiff’s Rockefeller Video

(“Defendant’s Second Infringing Video”).

       31.     On February 15, 2021, Business Casual submitted a DMCA takedown request to

YouTube concerning a third video posted by Defendant on Defendant’s YouTube Channel at

www.youtube.com/watch?v=3AokIYKBz8I that copied portions Plaintiff’s J.P. Morgan Video

(“Defendant’s Third Infringing Video”).

       32.     On February 18, 2021, YouTube removed Defendant’s Third Infringing Video.

       33.     On February 20, 2021, Business Casual’s attorney sent a letter to Defendant’s

counsel to address Defendant’s repeated infringement of Business Casual’s content and propose

a settlement that would allow Defendant to avoid termination of Defendant’s YouTube Channel

and its thirty-eight associated channels per YouTube’s repeat infringer policy.

       34.     Plaintiff did not receive a response from Defendant until after filing the above-

captioned lawsuit.

       35.     On February 25, 2021, Business Casual re-submitted its DMCA takedown notifi-

cation concerning Defendant’s Second Infringing Video.

       36.     On February 28, 2021, YouTube notified Business Casual that Defendant had

filed a DMCA counter notification with respect to Defendant’s Third Infringing Video and




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would reinstate Defendant’s Third Infringing Video if Business Casual did not seek a court order

to restrain Defendant’s infringing activity.

       37.        On March 2, 2021, Business Casual’s counsel again wrote to Defendant’s counsel

seeking a retraction of Defendant’s February 28, 2021 counter notification pertaining to Plain-

tiff’s claims against Defendant.

       38.        Plaintiff did not receive a response to this letter until after filing the above-cap-

tioned lawsuit.

       39.        On March 4, 2021, YouTube removed Defendant’s Second Infringing Video.

       40.        On March 12, 2021, YouTube notified Business Casual that Defendant had filed a

DMCA counter notification with respect to Defendant’s Second Infringing Video and would re-

instate Defendant’s Second Infringing Video if Business Casual did not seek a court order to re-

strain Defendant’s infringing activity within ten (10) business days, the period prescribed by the

safe harbor provision of the DMCA.

       41.        On March 15, 2021, Business Casual filed a fourth DMCA takedown notification,

with YouTube concerning a fourth video posted on Defendant’s YouTube Channel at

https://youtu.be/9Zm6yJn9dTE (“Defendant’s Fourth Infringing Video”) that infringes on copy-

righted content rightfully and solely owned by Plaintiff.

       42.        On March 17, 2021, Business Casual filed federal Copyright Application No. 1-

10275567962 on an expedited basis for a video titled U.S. National Debt Clock (the “National

Debt Clock Video”). A true and correct copy of Business Casual’s Copyright Application for the

National Debt Clock Video is attached hereto as Exhibit D.

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                                       CLAIMS FOR RELIEF

                                             COUNT 1
                                 COPYRIGHT INFRINGEMENT
                                (Defendant!s First Infringing Video)

           43.   Plaintiff restates all paragraphs as if fully restated herein.

           44.   Plaintiff is the owner of the J.P. Morgan Registration for the J.P. Morgan Video.

           45.   Defendant’s First Infringing Video includes copied portions of the J.P. Morgan

Video.

           46.   Defendant’s First Infringing Video infringes upon Plaintiff’s J.P. Morgan Regis-

tration.

           47.   Defendant admitted that the Defendant’s First Infringing Video unlawfully copied

portions of Plaintiff’s J.P. Morgan Video.

           48.   Upon information and belief, Defendant’s First Infringing Video was commer-

cially exploited (i.e., monetized on YouTube) and used in other contexts from which Defendant

profited.

           49.   Defendant’s actions constitute willful copyright infringement pursuant to 17

U.S.C. § 501.

           50.   Plaintiff is entitled to actual damages and Defendant’s profits.

           51.   Plaintiff is entitled to its costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                             COUNT 2
                                 COPYRIGHT INFRINGEMENT
                               (Defendant!s Second Infringing Video)

           52.   Plaintiff restates all paragraphs as if fully restated herein.

           53.   Plaintiff is the owner of the Rockefeller Registration for the Rockefeller Video.




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           54.   Defendant’s Second Infringing Video includes copied portions of the Rockefeller

Video.

           55.   Defendant’s Second Infringing Video infringes upon Plaintiff’s Rockefeller Reg-

istration.

           56.   Upon information and belief, Defendant’s Second Infringing Video was commer-

cially exploited (i.e., monetized on YouTube) and used in other contexts from which Defendant

profited.

           57.   Defendant’s actions constitute willful copyright infringement pursuant to 17

U.S.C. § 501.

           58.   Plaintiff is entitled to actual damages and Defendant’s profits.

           59.   Plaintiff is entitled to its costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                             COUNT 3
                                  COPYRIGHT INFRINGEMENT
                                (Defendant!s Third Infringing Video)

           60.   Plaintiff restates all paragraphs as if fully restated herein.

           61.   Plaintiff is the owner of the J.P. Morgan Registration for the J.P. Morgan Video.

           62.   Defendant’s Third Infringing Video includes copied portions of the J.P. Morgan

Video.

           63.   Defendant’s Third Infringing Video infringes upon Plaintiff’s J.P. Morgan Regis-

tration.

           64.   Upon information and belief, Defendant’s Third Infringing Video was commer-

cially exploited (i.e., monetized on YouTube) and used in other contexts from which Defendant

profited.




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       65.      Defendant’s actions constitute willful copyright infringement pursuant to 17

U.S.C. § 501.

       66.      Plaintiff is entitled to actual damages and Defendant’s profits.

       67.      Plaintiff is entitled to its costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                            COUNT 4
                                COPYRIGHT INFRINGEMENT
                              (Defendant!s Fourth Infringing Video)

       68.      Plaintiff restates all paragraphs as if fully restated herein.

       69.      Plaintiff is the owner of a pending expedited copyright application for the Na-

tional Debt Clock Video.

       70.      Defendant’s Fourth Infringing Video includes copied portions of the National

Debt Clock Video.

       71.      Defendant’s Fourth Infringing Video infringes upon Plaintiff’s copyright in the

National Debt Clock Video.

       72.      Upon information and belief, Defendant’s Fourth Infringing Video was commer-

cially exploited (i.e., monetized on YouTube) and used in other contexts from which Defendant

profited.

       73.      Defendant’s actions constitute willful copyright infringement pursuant to 17

U.S.C. § 501.

       74.      Plaintiff is entitled to actual damages and Defendant’s profits.

       75.      Plaintiff is entitled to its costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                   COUNT 5
                   DMCA VIOLATION PURSUANT TO 17 U.S.C. § 512(f)

       76.      Plaintiff restates all paragraphs as if fully restated herein.




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       77.        On January 19, 2021, Defendant knowingly and materially misrepresented the in-

fringing nature of Defendant’s First Infringing Video in a DMCA counter notification that it re-

tracted the next day.

       78.        On February 9, 2021, Plaintiff filed a DMCA takedown notice with YouTube re-

questing the removal of Defendant’s Second Infringing Video.

       79.        On February 15, 2021, Plaintiff filed another DMCA takedown notice with

YouTube requesting the removal of Defendant’s Third Infringing Video.

       80.        In response to Plaintiff’s DMCA takedown notice sent to YouTube on February

15, 2021, concerning Defendant’s Third Infringing Video, Defendant made a knowingly false

and material misrepresentation by submitting a DMCA counter notification, forwarded to Plain-

tiff by YouTube on February 28, 2021, stating that Defendant’s Third Infringing Video did not

infringe upon Plaintiff’s copyright rights.

       81.        Defendant’s DMCA counter notification to YouTube with respect to Defendant’s

Third Infringing Video was made with knowledge that it was another willful and material mis-

representation.

       82.        With respect to Plaintiff’s DMCA takedown notice sent to YouTube on February

9, 2021, concerning Defendant’s Second Infringing Video, Defendant made a knowingly false

and material misrepresentation by submitting a DMCA counter notification, forwarded to Plain-

tiff by YouTube on March 12, 2021, stating that Defendant’s Second Infringing Video did not

infringe upon Plaintiff’s copyright rights.

       83.        Defendant’s DMCA counter notification to YouTube with respect to Defendant’s

Second Infringing Video was made with knowledge that it was another willful and material mis-

representation.



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       84.     Plaintiff has suffered damages and continues to suffer damages as a result of De-

fendant’s willful and material misrepresentations.

       85.     Defendant is liable for Plaintiff’s damages, including costs and attorneys’ fees,

pursuant to 17 U.S.C. § 512(f).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully asks that the Court enter the following judgment

against Defendants:

       1.      That Defendant, its officers, agents, servants, employees, and any persons in ac-

tive concert or participation with it be permanently enjoined and restrained from:

               a.     Infringing Plaintiff’s copyright rights in the works covered by the Busi-

                      ness Casual Registrations;

               b.     Taking any action that directly or indirectly enables, facilitates, permits,

                      assists, solicits, encourages or induces any user or other third party to: (i)

                      copy, extract, host, index, reproduce, download, stream, exhibit, distribute,

                      communicate to the public, upload, link to, transmit, publicly perform, or

                      otherwise use or exploit in any manner any of Plaintiff’s works covered by

                      the Business Casual Registrations or portion(s) thereof; or (ii) to make

                      available any of Plaintiff’s works covered by the Business Casual Regis-

                      trations for copying, hosting, indexing, reproducing, downloading, stream-

                      ing, exhibiting, distributing, communicating to the public, uploading, link-

                      ing to, transmitting, publicly performing, or for any other use or means of

                      exploitation; and




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               c.      Assisting, aiding or abetting any other person or business entity in engag-

                       ing in or performing any of the activities referred to in the above subpara-

                       graphs (a)-(b).

       2.      That third-parties providing services used in connection with Defendant’s

YouTube Channel, including without limitation, web hosting providers, cloud services providers,

digital advertising service providers, search-based online advertising services (such as through

paid inclusion, paid search results, sponsored search results, sponsored links, and Internet key-

word advertising), domain name registration privacy protection services, providers of social me-

dia services (e.g., Facebook and Twitter), and user generated and online content services (e.g.,

YouTube, Periscope, Flickr and Tumblr) be required to cease or disable providing such services

to Defendant in relation to Defendant’s YouTube Channel and/or infringement of Plaintiffs’

works covered by Business Casual’s Registrations;

       3.      That the transfer of Defendant’s assets to Plaintiff, specifically including assets in

any of Defendant’s payment processor accounts, including but not limited to Google AdSense,

Payoneer, Dwolla, Stripe, and PayPal arising from, related to, or to account for their infringe-

ment of Plaintiff’s works covered by the Business Casual Registrations or other monetary awards

be ordered by the Court;

       4.      That Defendant account for and pay Plaintiff all profits realized by Defendant by

reason of their unlawful acts alleged herein;

       5.      That Plaintiff be awarded its damages caused by Defendant’s unlawful willful

acts herein alleged;

       6.      That Plaintiff be awarded its costs and attorneys’ fees incurred in this action;

       7.      That Plaintiff be awarded pre-judgment interest on its judgment; and



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      8.     Such other and further relief as the Court may deem equitable, proper and just.



Dated: March 24, 2021                                            Respectfully submitted,
New York, New York                                               DUFF LAW PLLC

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